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    UNITED STATES BANKRUPTCY COURT                               Presentment Date: November 16, 2018
    SOUTHERN DISTRICT OF NEW YORK                                Objection Date:   November 14, 2018
    -------------------------------------------------------- x
    In re:                                                   : Chapter 7
                                                             :
    NINETY FIRTH STREET SQUARE,                              : Case No. 17-12270 (SCC)
                                                             :
                       Debtor.                               :
                                                             :
                                                             :
    -------------------------------------------------------- x
    NOTICE OF PRESENTMENT OF PROPOSED ORDER, PURSUANT TO RULE
            2004 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE,
    AUTHORIZING AND DIRECTING THE PRODUCTION OF DOCUMENTS BY,
                    AND EXAMINATION OF JOSHUA BRONSTEIN, ESQ.

   TO:       HONORABLE SHELLEY C. CHAPMAN
             UNITED STATES BANKRUPTCY JUDGE

             PLEASE TAKE NOTICE THAT, that upon the application, dated August 27,

   2018, and the exhibits annexed thereto (the “Application”), of Salvatore LaMonica, the

   Chapter 7 Trustee (the “Trustee”) of the estate of Ninety Fifth Street Square Inc. (the

   “Debtor”) for the entry of an Order, pursuant to Rule 2004 of the Federal Rules of

   Bankruptcy Procedure (the “Bankruptcy Rules”), directing and compelling Joshua

   Bronstein, Esq. (“Bronstein”) to produce certain documents to the Trustee concerning the

   acts, conduct, property, liabilities and/or financial condition of the Debtor and/or any

   other matters which may affect the administration of the Debtor’s estate as more fully set

   forth in the Application [ECF No. 32], and upon the status conference held on September

   13, 2018 during which time the Court inquired as to the willingness of the United Stated

   Trustee (“United States Trustee”) to review the production of documents and conduct the

   examination pursuant to the Application; and upon an opposition by Bronstein to the

   Application filed on September 14, 2018; and upon a hearing on Bronstein’s application

   to withdraw as the Debtor’s counsel held on November 5, 2018 at which hearing the


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   relevance of his compliance with the Application was addressed, and upon all of the

   pleadings and proceedings had before this Court; and after due deliberation and sufficient

   cause appearing the undersigned will present the attached proposed order (the “Proposed

   Order”) for signature on November 16, 2018 at 12:00 p.m. to the Honorable Shelley C.

   Chapman, United States Bankruptcy Judge, United States Bankruptcy Court, Southern

   District of New York, One Bowling Green, New York, NY 10004.

          PLEASE TAKE FURTHER NOTICE, that objections, if any, to the Proposed

   Order (the “Objections”) must be made in writing, specify the reasons and provisions of

   the Bankruptcy Code, the Bankruptcy Rules and the Local Rules of the United States

   Bankruptcy Court for the Southern District of New York, and must be filed and served as

   to be received no later than November 14, 2018 at 4:00 p.m. (the “Objection Deadline”).

          PLEASE TAKE FURTHER NOTICE, that Objections, if any, to the Proposed

   Order must be served in accordance with the provisions of General Order No. M-182, so

   that they are received on or before the Objection Deadline upon: (1) Chambers of the

   Honorable Shelley C. Chapman, United States Bankruptcy Judge, United States

   Bankruptcy Court, Southern District of New York, One Bowling Green, New York, NY

   10004; (2) Joshua Bronstein 114 Soundview Drive, Port Washington, NY 11050 (3) the

   United States Trustee, 201 Varick Street, Room 1006, New York, New York 10014,

   Attn: Shannon Anne Scott. Objections not timely filed and served may not be considered

   by the Court.

          PLEASE TAKE FURTHER NOTICE, that if no Objections are timely filed,

   served and received in accordance with this notice, the Court may enter the proposed




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   Order without further notice or hearing. If an Objection is timely served and received, a

   hearing will be held before the Court, at a date and time to be established by the Court.

   Dated: New York, New York
          November 8, 2018

                                                        WILLIAM K. HARRINGTON
                                                        UNITED STATES TRUSTEE


                                                 By:    /s/ Shannon Anne Scott
                                                        Trial Attorney
                                                        201 Varick Street, Room 1006
                                                        New York, NY 10014
                                                        Tel. No. (212) 510-0500




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